Case: 2:06-cr-00129-ALM-NMK Doc #: 876 Filed: 11/25/08 Page: 1 of 34 PAGEID #: 17038




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

 UNITED STATES OF AMERICA,                        :
                                                  :
                Plaintiff,                        :
                                                  :   Case No. CR2-06-129(8)
                v.                                :   JUDGE ALGENON L. MARBLEY
                                                  :
 JAMES K. HAPP,                                   :
                                                  :
                Defendant.                        :

                                    OPINION AND ORDER

                                      I. INTRODUCTION

        This matter is before the Court on Defendant James K. Happ’s (“Defendant’s” or

 “Happ’s”) various pretrial motions. Specifically, this Order addresses Happ’s: (1) Motion for a

 Bill of Particulars (no. 700); (2) Motion for Specific Brady Material Relating to the SEC’s

 Declination to Pursue an Action Against Defendant Happ (no. 775); (3) Motion for Production

 of Brady and Giglio Material (no. 776); (4) Motion for Pre-trial Production of Jencks Act

 Material (no. 778); (5) Motion to Disclose & Determine Admissibility of Co-Conspirator's

 Statements (no. 780); (6) Motion to Preserve Agent's Notes (no. 779); (7) Motion to Examine

 Charts, Exhibits and Pedagogical Devices (no. 781); (8) Motion for Notice of Intent to Rely on

 Other Crimes Evidence and Motion in Limine (no. 783); (9) Motion to Produce Grand Jury

 Materials (no. 784); (10) Motion for an In Camera Examination of the Presentence Reports of

 Sherry Gibson and Jon Beacham (no. 782); (11) Defendant's Demand for Discovery (no. 777);

 (12) Omnibus Motion in Limine (no. 854); (13) Motion to Exclude the Term "Dog and Pony

 Show" From his Trial (no. 855); (14) Motion to Exclude Testimony of William Parizek (no.

 856); (15) Motion to Exclude the Government’s Summary Exhibits and the Testimony of
Case: 2:06-cr-00129-ALM-NMK Doc #: 876 Filed: 11/25/08 Page: 2 of 34 PAGEID #: 17039




 Summary Witness, SA Jeffrey Williams (no. 868); and (16) Motion to Exclude Any Opinion

 Testimony by Special Agent Jeffrey Williams (no. 872); and (17) Motion for Change of Venue

 (no. 869). The Court will address each motion in turn.

                                          II. ANALYSIS

                                     A. Defendant’s Motions

                     1. Defendant’s Motion for a Bill of Particulars (no. 700):

        Pursuant to Federal Rule of Criminal Procedure 7(f), Happ moves for a bill of particulars,

 identifying several specific categories of information relating to the conspiracy charges against

 him about which he claims to need additional information in order to prepare an adequate

 defense. Specifically, he requests that the government be ordered to provide:

        (1) the specific dates on which the government alleges Happ joined the conspiracies
        charged in Counts 1 and 17 of the superseding indictment;

        (2) the specific acts by which the government alleges Happ joined the conspiracies
        charged in Counts 1 and 17 of the superseding indictment;

        (3) the specific location where the alleged conspiratorial agreements that form the basis
        of Counts 1 and 17 of the superseding indictment were made;

        (4) each specific act the government claims Happ committed in furtherance of the
        conspiracies charged in Counts 1 and 17 of the superseding indictment; and

        (5) specificity regarding how Happ ‘knew that the property involved in the financial
        transaction represented the proceeds of some form of unlawful activity’as charged in
        Count 17.

        Whether to grant a motion for a bill of particulars lies within the discretion of the district

 court. United States v. Perkins, 994 F.2d 1184, 1190 (6th Cir. 1993). “The function of a bill of

 particulars is to minimize surprise and assist [the] defendant in obtaining the information needed

 to prepare a defense and to preclude a second prosecution for the same crimes.” United States v.


                                                  2
Case: 2:06-cr-00129-ALM-NMK Doc #: 876 Filed: 11/25/08 Page: 3 of 34 PAGEID #: 17040




 Crayton, 357 F.3d 560, 568 (6th Cir. 2004) (internal quotation marks omitted). “A bill of

 particulars is not meant as a tool for the defense to obtain detailed disclosure of all evidence held

 by the government before trial.” Id. (internal quotation marks and citation omitted). Moreover,

 a defendant is not entitled to a bill of particulars regarding information that is available through

 other sources. United States v. Paulino, 935 F.2d 739, 750 (6th Cir. 1991), superceded by

 statute on other grounds, U.S.S.G § 3B1.1; see also United States v. Musick, No. 05-5563, 2008

 WL 4090648, at *16 (6th Cir. Aug. 29, 2008); United States v. Barnes, 158 F.3d 662, 665 (2d

 Cir. 1998) (district court has discretion to deny a bill of particulars if the information requested

 by the defendant is available in some alternative form).

        To the extent Happ seeks the specific dates of his alleged involvement in the conspiracies

 charged in Counts 1 and 17 of the superseding indictment, the Court finds that request is

 MOOT. The Government specified in its response that it believes Happ joined the alleged

 conspiracies in or around early 2000 and the superseding indictment states that the conspiracies

 ended on or about November 18, 2002. The Government need not provide more specific detail

 regarding the dates of the alleged conspiracies. See United States v. Robinson, 390 f.3d 853, 867

 (6th Cir. 2004) (holding district court did not abuse its discretion in denying a bill of particulars

 where the indictment included beginning and end date range of the charged conspiracy).

        Regarding the other four categories of information requested by Happ, the Court finds

 that the indictment is sufficiently detailed to allow Happ to prepare a defense, to prevent unfair

 surprise at trial, and to preclude double jeopardy. The superseding indictment lays out the

 alleged scheme to defraud in detail including: the names of the indicted co-conspirators; the




                                                   3
Case: 2:06-cr-00129-ALM-NMK Doc #: 876 Filed: 11/25/08 Page: 4 of 34 PAGEID #: 17041




 relevant dates of the conspiracies; the means used to carry out the conspiracies; as well as

 several overt acts in furtherance of the conspiracy in Count 1 allegedly performed by Happ.

        Moreover, Happ has a wealth of other information provided by the Government from

 which to guide the preparation of his defense and prevent unfair surprise at trial. The

 Government has provided Happ with roughly 200,000 pages of discovery materials related to the

 charges against him and his co-defendants. To the extent that this discovery was too voluminous

 to be easily digested by defense counsel, on August 15, 2008, the Government provided a

 narrowed list of the specific documents it may use at trial against Happ (no. 785).

        Similarly, in a January 31, 2008 letter, the Government supplied Happ and his co-

 defendants with information, including trial exhibit number and production number, specifically

 identifying investor report data that the Government believes is false. Also, several of Happ’s

 co-defendants were tried in February 2008 and Happ has had access to the trial transcript and

 exhibits since that time. Finally, Happ’s co-defendant Lance K. Poulsen was tried in October

 2008 and Happ will have the benefit of transcripts and exhibits from that trial to aid in the

 preparation of his defense. As the conspiracies alleged against Happ are the same conspiracies

 alleged in the February 2008 and October 2008 trials of Happ’s co-defendants, transcripts and

 exhibits from those trials provide Happ with great detail regarding the conspiracy charges

 against him. For the foregoing reasons, Happ’s motion for a bill of particulars is DENIED.

  2. Defendant’s Motion for Specific Brady Material Relating to the SEC’s Declination to Pursue
                          an Action Against Defendant Happ (no.775):

        Pursuant to Federal Rule of Criminal Procedure 16 and Brady v. Maryland, 373 U.S. 83

 (1963), Happ requests that the Court compel the Government to produce: (1) all documents and

 other evidence relating to the Securities and Exchange Commission’s (“SEC’s”) investigation of

                                                  4
Case: 2:06-cr-00129-ALM-NMK Doc #: 876 Filed: 11/25/08 Page: 5 of 34 PAGEID #: 17042




 and decision not to pursue an action against Happ; and (2) the identity of the individual SEC

 employee who made the decision not to pursue an action against Happ. Happ contends that this

 information is Brady material (i.e. it is exculpatory) and is essential to his defense.

        The Government responds that it will, and the record suggests that as of date of this

 Order it already has, complied with the Court’s June 27, 2008 Order (no. 701), which required

 the Government to “identify by production numbers” or produce any previously undisclosed

 documents obtained through the SEC’s investigation of National Century Financial Enterprises,

 Inc.’s (“NCFE”) auditors, trustees, and rating agencies. The Government also contends that the

 material sought by Happ is (1) outside of its custody and control; (2) is neither material nor

 relevant to the charges or any defense and, therefore, not Brady material; and (3) is subject to the

 deliberative process, attorney work product, and attorney-client privileges. Nevertheless, the

 Government forwarded Happ’s request to the SEC. The SEC responded in a September 4, 2008

 letter that “SEC staff do not have anything responsive to [Happ’s request].” Therefore, the

 Government argues that the request is moot because there is no responsive material.

        As an initial matter, the Court notes that it finds that information regarding the SEC’s

 investigation of Happ is discoverable under Fed. R. Crim. P. 16(a)(1)(E). That rule requires

 production of “books, papers, documents, data, photographs, tangible objects, buildings or

 places,” within the Government’s custody or control that are “material to preparing the defense .

 . . .” Fed. R. Crim. P. 16(a)(1)(E). As the Court explained in its June 27, 2008 Order on

 Defendants Happ’s and Poulsen’s motion for discovery of other SEC documents (no. 701),

 documents held by the SEC are within the Government’s control. United States v. Lujan, 530 F.

 Supp. 2d 1224, 1234 (D.N.M. 2008) (“[A] prosecutor will be deemed to have knowledge of and


                                                   5
Case: 2:06-cr-00129-ALM-NMK Doc #: 876 Filed: 11/25/08 Page: 6 of 34 PAGEID #: 17043




 access to anything in the possession, custody or control of any federal agency participating in the

 same investigation of the defendant.” (internal quotation marks omitted); United States v. Libby,

 429 F. Supp. 2d 1, 5-7 (D.D.C. 2006) (holding that the Government had to produce documents

 from the Office of the Vice President and the CIA).

        To satisfy the materiality standard, the information sought must be relevant to an

 argument the defendant would make to refute the government’s case-in-chief. United States v.

 Armstrong, 517 U.S. 456, 462 (1996). Rule 16's materiality standard is not a heavy burden.

 Evidence will be deemed material so long as it “will play an important role in uncovering

 admissible evidence, aiding witness preparation, corroborating testimony, or assisting

 impeachment or rebuttal.” United States v. Lloyd, 992 F.2d 348, 351 (D.C. Cir. 1993). Happ

 argues, that unlike the other defendants in this case, he was not the subject of any adverse

 finding by the SEC and thus, any documents regarding the SEC’s decision not to proceed against

 him are material to his defense and constitute Brady material. The Court agrees with Happ that

 the requested documents are material to the preparation of his defense and that the Government

 must produce them pursuant to Rule 16.1




        1
           Happ’s motion appears to elide the standards of materiality under Brady and Rule 16
 and thus his motion is styled primarily as a motion for Brady materials. However, “[t]he
 disclosure required by Rule 16 is much broader than that required by the due process standards
 of Brady.” United States v. Conder, 423 F.2d 904, 911 (6th Cir. 1970); United States v.
 Messerlian, 832 F.2d 778, 795 (3d Cir.1987) abrogated on other grounds by United States v.
 Johnstone, 107 F.3d 200 (3d Cir. 1997). Unlike the broad standard of materiality under Rule 16,
 information is material under Brady if its non-disclosure undermined the fairness of the trial,
 such that we cannot be confident in the verdict reached. Johnson v. Bell, 525 F.3d 466, 478 (6th
 Cir. 2008) Therefore, the Court’s finding that the requested SEC documents are discoverable
 under Rule 16 does not mean the Court is convinced that those materials are also Brady material.

                                                  6
Case: 2:06-cr-00129-ALM-NMK Doc #: 876 Filed: 11/25/08 Page: 7 of 34 PAGEID #: 17044




        From the Government’s response, however, it appears that the neither the Government

 nor the SEC has documents responsive to Happ’s request. The Court has no reason to disbelieve

 counsel’s representations. Therefore, the Court finds that Happ’s motion is MOOT. To the

 extent that the Government subsequently acquires any material relating to the SEC’s

 investigation of Happ which has not been previously been provided to Happ, the Government

 must disclose it promptly.

           3. Defendant’s Motion for Production of Brady and Giglio Material (no.776):

        Happ requests production of all exculpatory evidence and evidence material to guilt or

 punishment pursuant to Brady, as well as, all information that could arguably be used to impeach

 any government witnesses pursuant to Giglio. See Brady, 373 U.S. 83; Giglio v. United States,

 405 U.S. 150 (1972). Happ further requests that if the Government has a good faith question

 regarding whether certain evidence constitutes Brady material, that the Government present the

 information to the Court for in camera review and notify defense counsel that it has done so.

        The Court finds Happ’s Motion is MOOT. In its response to Happ’s Motion, the

 Government assures Happ and the Court that all information that qualifies as Brady or Giglio

 material has already been or will be provided. The Government further represents that it is

 aware of its discovery obligations under Brady and Giglio and will continue to comply with

 those obligations.

        Moreover, “the government typically is the sole judge of what evidence in its possession

 is subject to disclosure” under Brady. United States v. Presser, 844 F.2d 1275, 1281 (6th Cir.

 1988) (noting also that if the government fails to adequately comply with Brady disclosure

 duties, “it acts at its own peril”); accord Pennsylvania v. Ritchie, 480 U.S. 39, 59 (1987) (stating


                                                  7
Case: 2:06-cr-00129-ALM-NMK Doc #: 876 Filed: 11/25/08 Page: 8 of 34 PAGEID #: 17045




 that a prosecutor’s decision on disclosure is final unless defense counsel learns exculpatory

 evidence was withheld and brings it to the court’s attention); United States v. Hale, No. 95-5915,

 1997 WL 34697, at *2 (6th Cir. Jan. 28, 1997) (under the Brady rule the government “must be

 assigned the primary responsibility of gauging whether [undisclosed evidence] constitutes

 evidence favorable to the accused and is therefore discoverable”); United States v. Valentine, No.

 94-6195, 1995 WL 390322, at *4 (6th Cir. June 30 1995) (same).

        Absent any indication of misconduct, the Court is entitled to rely on the on the

 prosecutor’s representations regarding whether evidence in its posession is subject to disclosure

 under Brady. United States v. White, 492 F.3d 380, 411 (6th Cir. 2007); United States v.

 Hernandez, 31 F.3d 354, 361 (6th Cir. 1994). Thus, as there is no evidence of prosecutorial

 misconduct in this case, the Court may rely on Government’s representations that it is in

 compliance with Brady.

        The Court does order, however, that if the Government has any question regarding

 whether certain evidence constitutes Brady material, either currently or at any point in the future,

 that: (1) it produce that evidence to the Court for in camera inspection and (2) it notify Defense

 counsel that it has done so. See Application of Storer Commc’ns, Inc., 828 F.2d 330, 334-35 (6th

 Cir. 1987) (noting that a prosecutor may submit possible Brady materials for in camera review

 by the trial court to determine whether disclosure is required) United States v. Holmes, 722 F.2d

 37, 41 (4th Cir. 1983) (prosecutor has an obligation to submit material to the court for in camera

 inspection if there is any doubt about whether it might be exculpatory).




                                                  8
Case: 2:06-cr-00129-ALM-NMK Doc #: 876 Filed: 11/25/08 Page: 9 of 34 PAGEID #: 17046




         4. Defendant’s Motion for Pre-trial Production of Jencks Act Material (no. 778):

        Although titled a “motion for pretrial production,” Happ merely requests that, given the

 complexity of this case, the Court encourage the Government to provide pretrial production of

 Jencks Act Material 30 days before trial.2 Happ contends that the Government’s witnesses have

 provided numerous statements to law enforcement officers and the SEC such that production of

 this voluminous information after direct-examination would prevent detailed analysis before

 cross-examination. Thus, Happ claims, at-trial production of Jencks Act material would

 unnecessarily delay the trial because counsel would be forced to request a reasonable period of

 time in the middle of trial to review the material.

        The Government retorts, and Happ concedes, that the Government cannot be compelled

 to disclose Jencks Act Material pretrial. United States v. Presser, 844 F.2d 1275, 1285 (6th Cir.

 1988); see also Fed. R. Crim. P. 16(a)(2) (specifically exempting Jencks Act material from

 pretrial discovery). Nevertheless, the Government states that it will provide pretrial discovery of

 statements made by Government witnesses to facilitate an uninterrupted trial.




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   The Jencks Act provides that:
        In any criminal prosecution brought by the United States, no statement or report
        in the possession of the United States which was made by a Government witness
        or prospective Government witness (other than the defendant) shall be the subject
        of subpoena, discovery, or inspection until said witness has testified on direct
        examination in the trial of the case . . . After a witness called by the United States
        has testified on direct examination, the court shall, on motion of the defendant,
        order the United States to produce any statement . . . of the witness in the
        possession of the United States which relates to the subject matter as to which the
        witness has testified.
 18 U.S.C. §3500(a)-(b).


                                                   9
Case: 2:06-cr-00129-ALM-NMK Doc #: 876 Filed: 11/25/08 Page: 10 of 34 PAGEID #: 17047




         As the Government has already agreed to provide pretrial production of Jencks Act

  Material “before the first day of trial” and the Court cannot compel the Government to provide

  pretrial disclosure 30 days before trial, Happ’s request is largely ceremonial. However, the

  Court is sympathetic to the Happ’s concerns regarding the time needed to review Jenck’s

  Material. Therefore, Happ’s Motion is GRANTED and the Court encourages the Government

  to provide Jenck’s Act Material as soon as possible to avoid delay at trial.

   5. Defendant’s Motion to Disclose & Determine Admissibility of Co-Conspirator’s Statements
                                          (no. 780):

         Happ requests that the Court: (1) compel pretrial disclosure of all statements of co-

  conspirators who will not testify at trial; and (2) hold an evidentiary hearing to determine

  whether Happ was part of a conspiracy and whether any alleged co-conspirator statements are

  admissible. In the alternative, Happ requests that the Government be ordered to refrain from

  eliciting any alleged co-conspirator’s statements or from referring to any co-conspirator’s

  statements until the Court determines the admissibility of such statements at trial. The

  Government argues that statements of co-defendants or co-conspirator’s are not discoverable and

  that a pretrial evidentiary hearing on the admissibility of co-conspirators’ statements is

  unnecessary.

         The Sixth Circuit has found that discovery pursuant to Federal Rule of Criminal

  Procedure 16 is limited to categories of evidence expressly referred to in the Rule. Presser, 844

  F.2d at 1285. Therefore, Rule 16 does not require pretrial discovery of co-conspirator’s

  statements. See id. (citing United States v. Roberts, 811 F.2d 257, 258-59 (4th Cir. 1987) (per

  curiam)); accord United States v. Boykins, Nos. 89-3580, 89-3641, 89-3798, 1990 WL 143559,

  at *7 (6th Cir. Oct. 2, 1990) (holding “co-conspirator statements do not fall within the ambit of

                                                   10
Case: 2:06-cr-00129-ALM-NMK Doc #: 876 Filed: 11/25/08 Page: 11 of 34 PAGEID #: 17048




  Rule 16(a)(1)(A)” as a Defendant’s statement and were therefore not discoverable pretrial).

  Similarly, this Circuit has held that a defendant is not entitled to pretrial disclosure regarding

  Government witnesses. See United States v. Carter, 621 F.2d 238, 240 (6th Cir. 1988) (“United

  States is generally under no duty to provide the statement of a government witness until that

  witness has testified”); United States v. McCullah, 745 F.2d 350, 353 (6th Cir. 1984) (no duty to

  disclose witness lists in a non-capital case).

         Happ cites out-of-circuit caselaw that supports his position. United States v. Degrasse,

  No. Crim.2002/125, 2003 WL 23277264, at *1-2 (D.V.I. Apr. 25, 2003) (ordering disclosure of

  co-conspirator’s statements but noting that “the general rule is that [Rule 16] does not include

  statements made by co-conspirators”); United States v. Thevis, 84 F.R.D. 47, 56 (D.C. Ga. 1979)

  (co-conspirator’s statements discoverable under Fed. R. Crim. P. 16); United States v. Gallo, 654

  F.Supp. 463, 480 (E.D.N.Y. 1987) (same). As commentators have noted, however, courts are

  split on the discoverability of co-conspirator’s statements under Rule 16. 2 Charles Alan Wright

  et al., Federal Practice and Procedure, §253 n. 20 (3d ed. 2008); 7 Federal Procedural Forms,

  §20.415 Notes (noting that courts are split on this issue) (2008); John F. Wagner Jr., 115 A.L.R.

  Fed. 573 (1993 & 2008 Supp.) (same). This Court is not free to ignore the law of the Sixth

  Circuit on this subject, which has denied pretrial disclosure. Moreover, the Court does not

  believe that Happ will be prejudiced or subjected to unfair surprise from the lack of pretrial

  disclosure under the particular circumstances of this case as he has access to the trial transcripts

  from the February 2008 and October 2008 trials of his co-defendants during which his alleged

  co-conspirator’s statements were introduced. Therefore, Happ’s request for pretrial discovery of

  co-conspirator’s statements is DENIED.


                                                    11
Case: 2:06-cr-00129-ALM-NMK Doc #: 876 Filed: 11/25/08 Page: 12 of 34 PAGEID #: 17049




         Next Happ requests a pretrial evidentiary hearing on the admissibility of co-conspirator’s

  statements under Federal Rule of Evidence 801(d)(2)(E). Before a court may admit co-

  conspirator’s statements under Rule 801(d)(2)(E) the court must find by a preponderance of the

  evidence that a conspiracy existed, that the defendant against whom the statement is offered was

  a member of the conspiracy, and that the statement was made in the course of and in furtherance

  of the conspiracy. United States v. Enright, 579 F.2d 980, 985-87 (6th Cir. 1978); accord United

  States v. Kone, 307 F.3d 430, 440 (6th Cir. 2002). A trial court may employ several methods to

  determine the admissibility of co-conspirators statements. United States v. Vinson, 606 F.2d

  149, 152-53(6th Cir. 1979). Admissibility may be established by any of the following methods:

  (1) at trial after the government has established the existence of the conspiracy by a

  preponderance; (2) at a pretrial “mini-hearing;” or (3) by conditionally admitting the hearsay

  statements subject to a later showing of their admissibility. Id.

         This Court prefers the first approach and generally requires the Government to meet its

  initial burden by producing at trial non-hearsay evidence establishing the existence of the

  conspiracy and the defendant’s involvement. Historically, this Court has rejected the mini-

  hearing approach that Happ requests because it has found that it amounts to a waste of judicial

  resources. See id. at 152 (noting that the mini-hearing approach has been criticized as

  “burdensome, time-consuming, and uneconomic”). The Court sees no reason to depart from its

  usual practice in this case. Therefore, Happ’s request for a pretrial evidentiary hearing on the

  admissibility of co-conspirator’s statements under Federal Rule of Evidence 801(d)(2)(E) is also

  DENIED.




                                                   12
Case: 2:06-cr-00129-ALM-NMK Doc #: 876 Filed: 11/25/08 Page: 13 of 34 PAGEID #: 17050




         Finally, Happ requests that, if the Court decides to determine admissibility at trial, It

  order the government to refrain from referring to any alleged co-conspirator’s statements in voir

  dire, opening statements, or in its case-in-chief before the admissibility of such statements is

  ruled on by the Court. As this request is in accordance with the Court’s preferred procedure for

  determining the admissibility of 801(d)(2)(E) statements, it is GRANTED. The government

  must produce evidence of a conspiracy and receive a ruling from the Court before it may

  reference or elicit from witnesses any co-conspirator statements.

         For the reasons set forth above, Happ’s Motion is DENIED in PART and GRANTED

  in PART.

                     6. Defendant’s Motion to Preserve Agent’s Notes (no. 779):

         Happ requests that the Court order all federal and local law enforcement or other

  investigative personnel involved in the case to retain all notes made during the investigation,

  including rough notes, memoranda, and synopses. The Government claims that this motion is

  moot because it has already requested that agents on the case preserve this material and there is

  no reason to believe that the agents will not do so. The Court agrees that there is no reason to

  assume that agents will not comply with the Government’s preservation request.

         Nevertheless, the Court believes there may be qualitative differences in terms of

  enforcement between the Government’s request to its own agents and a court order that agents

  must preserve their notes. Therefore, the Court orders that the Government direct all

  government law enforcement and investigative officials involved in the case to preserve their

  investigative notes, including rough notes. Happ’s motion is GRANTED.




                                                   13
Case: 2:06-cr-00129-ALM-NMK Doc #: 876 Filed: 11/25/08 Page: 14 of 34 PAGEID #: 17051




      7. Defendant’s Motion to Examine Charts, Exhibits and Pedagogical Devices (no. 781):

         Happ requests that the Court order the Government to produce within a reasonable time

  before trial all charts, summaries, and other demonstrative or pedagogical evidence that the

  Government intends to use at trial as well as the documents underlying those items. Happ

  proposed a November 10, 2008 date as a reasonable time for production.

         In its response, the Government states that (1) it will provide Happ with the requested

  material at a reasonable time in advance of trial; (2) that it has already disclosed the evidence

  underlying any summaries, charts, and demonstrative exhibits through production; and (3) that

  the November 10, 2008 disclosure date proposed by Happ is unrealistic because the requested

  materials will probably not be completed three weeks before the December 1, 2008 trial. Based

  on the Government’s response, the Court does not believe any judicial intervention is necessary

  at this time. Therefore, the Court finds Happ’s Motion is MOOT as the Government has already

  agreed to provide the requested production.

    8. Defendant’s Motion for Notice of Intent to Rely on Other Crimes Evidence and Motion in
                                          Limine (783):

         Happ requests the Court to order the Government to disclose its intent to use Federal

  Rule of Evidence 404(b) or “Reverse 404(b)” material. In its response, the Government states

  that it understands that notice of intent to use 404(b) evidence is a condition precedent to

  admissibility of such evidence. The Government also states that it has provided notice to Happ

  on two prior occasions: December 4, 2007 and June 24, 2008. Therefore the Court finds that

  Happ’s request is MOOT.




                                                   14
Case: 2:06-cr-00129-ALM-NMK Doc #: 876 Filed: 11/25/08 Page: 15 of 34 PAGEID #: 17052




                 9. Defendant’s Motion to Produce Grand Jury Materials (no. 784):

         Happ requests production of the testimony and exhibits presented to the Grand Jury that

  produced the May 2006 Indictment (“first grand jury”) and the July 2007 Superseding

  Indictment (“second grand jury”). In the alternative, Happ requests that the Court conduct an in

  camera review of those materials looking for “inconsistencies, exculpatory evidence, and

  omissions.” Happ also requests a hearing on this motion. The Government opposes the motion

  and argues that Happ has made no showing of particularized need or grand jury irregularity as

  required to warrant intrusion into the secrecy of the grand jury.

         Federal Rule of Criminal Procedure 6(e)(3)(E) allows courts to order the disclosure of

  grand jury materials upon a showing “that a ground may exist to dismiss the indictment because

  of a matter that occurred before the grand jury.” However, there is a “strong policy in favor of

  maintaining the secrecy of grand jury proceedings.” United States v. Azad, 809 F.2d 291, 294

  (6th Cir. 1986). To justify disclosure a defendant must show that he has a “particularized need”

  or a “compelling necessity” for disclosure such that there is “proof that without access to the

  grand jury materials, [his] position would be greatly prejudiced or an injustice would be done.”

  FDIC v. Ernst & Whinney, 921 F.2d 83, 86 (6th Cir. 1990) (internal quotation marks and citation

  omitted); accord Douglas Oil. Co. of California v. Petrol Stops Nw., 441 U.S. 211, 220-23

  (1979); United States v. Procter & Gamble Co., 356 U.S. 677, 682 (1958).

         Happ’s claim that he has a particularized need for disclosure of the grand jury materials

  is based on his suspicion that the first grand jury may have refused to indict him, his suspicion

  that the Government may have withheld exculpatory evidence from the grand jury, and his

  suspicion that the government may have failed to present evidence regarding his alleged


                                                  15
Case: 2:06-cr-00129-ALM-NMK Doc #: 876 Filed: 11/25/08 Page: 16 of 34 PAGEID #: 17053




  involvement in the conspiracy to the first grand jury in an effort to obtain tactical advantage.

  Happ has failed to make a sufficient showing of particularized need to warrant disclosure of the

  grand jury materials.3 Happ’s arguments amount to no more than speculation that the timing of

  his indictment (i.e. that he was not named in the initial indictment produced by the first grand

  jury but subsequently named in the superseding indictment produced by the second grand jury)

  suggests prosecutorial misconduct. United States v. Goff, No. 3:04 CR 140(14), 2006 WL

  418632, at *7 (S.D. Ohio Feb. 20, 2006) (“Speculation of irregularity is not enough to entitle the

  defendant to disclosure of grand jury material”); see also Azad, 809 F.2d at 295 (“A presumption

  of regularity attaches to grand jury proceedings” and a defendant seeking production bears the

  difficult burden of proving irregularity.)

         Similarly, Happ’s concern that the Government may have “withheld” exculpatory

  material from the grand juries is legally irrelevant as the Government has no duty to provide a

  grand jury with exculpatory evidence. United States v. Williams, 504 U.S. 36, 47 (1992); United

  States v. Angel, 355 F.3d 462, 475 (6th Cir. 2004). Moreover, Happ’s request for disclosure is

  very broad, asking for full disclosure of both grand jury transcripts for review without any



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            Happ’s reliance on Dennis v. United States, 384 U.S. 855, 869 (1966) in support of his
  Motion is misplaced as the circumstances of that case are easily distinguishable. In Dennis the
  Supreme Court found that the limited disclosure of the grand jury testimony of four key
  witnesses was proper based on, inter alia, the seven year gap between the grand jury proceeding
  and the trial, the fact that the testimony of those witnesses was largely uncorroborated, and the
  government’s concession that the importance of preserving secrecy in that case was “minimal.”
  Id. at 871-74. In contrast, in this case: (1) Happ’s request is not limited to specific grand jury
  testimony but seeks a wholesale review of both grand jury proceedings; (2) there has been less
  than a two year gap between the second grand jury proceeding (after which Happ was first
  named in the indictment) and trial; (3) the testimony of the Government’s witnesses at the trial of
  Happ’s co-defendants was corroborated and interlocking; and (4) the Government has not
  conceded that there is no need for secrecy.

                                                   16
Case: 2:06-cr-00129-ALM-NMK Doc #: 876 Filed: 11/25/08 Page: 17 of 34 PAGEID #: 17054




  limitation to specific material. Dennis v. United States, 384 U.S. 855, 869 (1966) (“[W]hen

  disclosure is permitted, it is to be done discretely and limitedly” (internal quotation marks

  omitted).) Finally, the Court believes a hearing on this Motion is unnecessary. Therefore,

  Happ’s Motion for disclosure of grand jury materials and for a hearing on the Motion is

  DENIED.

    10. Defendant’s Motion for an In Camera Examination of the Presentence Report of Sherry
                               Gibson and Jon Beacham (no. 782):

         Happ moves for the disclosure of the Presentence Investigation Reports (“PSR”) of

  Sherry Gibson (“Gibson”) and Jon Beacham (“Beacham”) and the Report of Dr. Brams, which

  was filed in connection with Gibson’s PSR. Gibson is a former NCFE executive who plead

  guilty in 2003 to a conspiracy charge related to the alleged fraud at NCFE. She is expected to

  testify against Happ at his December 2008 trial. Similarly, Beacham is a former NCFE

  executive who plead guilty in 2007 to a conspiracy charge and a securities fraud charge related

  to the alleged fraud at NCFE and is also expected to testify against Happ. The Government

  opposes disclosure arguing that the PSRs do not contain exculpatory or impeachment material

  and, therefore, Happ cannot show a compelling need for disclosure of the reports.

         PSRs are confidential materials prepared to assist district courts in fashioning appropriate

  sentences. United States v. Trevino, 89 F.3d 187, 190 (4th Cir. 1996). The contents of PSRs are

  generally immune to disclosure to third parties. United States Dep’t of Justice v. Julian, 486

  U.S. 1, 12 (1988) (commenting that “in both civil and criminal cases the courts have been very

  reluctant to give third parties access to the presentence investigation report prepared for some

  other individual or individuals”). Notwithstanding the strong policy preference in favor of

  maintaining the confidentiality of PSRs, courts have recognized a limited right of defendants to

                                                   17
Case: 2:06-cr-00129-ALM-NMK Doc #: 876 Filed: 11/25/08 Page: 18 of 34 PAGEID #: 17055




  obtain the PSRs of cooperating witnesses. If a defendant can describe what exculpatory or

  impeaching information he expects to find in the requested PSR, the district court is obligated to

  undertake an in camera review of the PSR to determine whether it does indeed contain any such

  information and whether the defendant’s need for that information is “compelling.” Trevino, 89

  F.3d at 192-93; United States v. Moore, 949 F.2d 68, 72 (2d Cir. 1991); United States v. Corbitt,

  879 F.2d 224, 239 (7th Cir. 1989) (“Only where a compelling, particularized need for disclosure

  is shown should the district court disclose the report . . . .”) Where the court finds such

  “compelling need,” it does not necessarily release the entire PSR, but rather only those portions

  “which are directly relevant to the demonstrated need.” Corbitt, 879 F.2d at 239.

                                      Disclosure of Gibson’s PSR

            In support of his motion for disclosure of Gibson’s PSR, Happ references a memorandum

  filed by Gibson in connection with her sentencing. The Memorandum references a medical

  report authored by Dr. Brams which describes Gibson as having a “lack of self-esteem” and

  states “her desire to please her superiors was the true motivation for her criminal behavior.”

  Happ argues that Gibson is expected to testify at trial, that her credibility and potential bias are

  implicated by Dr. Bram’s report and, therefore, an in camera review by the Court to determine

  whether the PSR and medical report contain exculpatory or material information is warranted.

  The Court agrees and finds that Happ has made a sufficient showing to warrant an in camera

  review.

            However, during the February 2008 trial of Happ’s co-defendants, Defendants Ayers,

  Parrett, Speer, Faulkenberry, and Dierker moved for disclosure of Gibson’s PSR and the

  medical report prepared by Dr. Brams in connection with PSR (“Dr. Bram’s Report”). As a


                                                    18
Case: 2:06-cr-00129-ALM-NMK Doc #: 876 Filed: 11/25/08 Page: 19 of 34 PAGEID #: 17056




  result, the Court has already reviewed Gibson’s PSR and Dr. Bram’s Report and ruled that only

  one paragraph could be disclosed to Defendants (no. 875). That paragraph was provided to

  Defendants Ayers, Parrett, Speer, Faulkenberry, and Dierker’s counsel at the February trial.

         In light of Happ’s Motion, the Court has re-reviewed Gibson’s PSR and Dr. Bram’s

  Report and agrees with its prior ruling. For the reasons set forth in the Court’s February 15,

  2008 Order (no. 875), the Court concludes that with the exception of one paragraph, Happ

  cannot satisfy the stringent “compelling need” standard required for disclosure. Therefore, the

  Court declines to disclose any portion of the PSR and Dr. Bram’s Report beyond the identified

  paragraph, which will be provided to counsel for the Government and the Defendant in hard

  copy form.

                                    Disclosure of Beacham’s PSR

         In support of his motion for disclosure of Beacham’s PSR, Happ cites Beacham’s

  testimony at the February 2008 trial of Happ’s co-defendants. Happ contends that because

  Beacham testified that in April 2005 he did not think he had committed a crime at NCFE and

  that he did not have any criminal intent while at NCFE, he may have shared exculpatory material

  regarding Happ’s lack of culpability with his probation officer. The Court finds that Happ has

  met the standard to obtain an in camera inspection of Beacham’s PSR.

         The Court has carefully reviewed Beacham’s PSR and finds that Happ cannot satisfy the

  “compelling need” standard for disclosure as the report contains no exculpatory material or

  impeachment material for which Happ has a compelling need. See Moore, 949 F.2d at 72.

  Therefore, the Court refuses to order disclosure of any portion of Beacham’s PSR. Accordingly,

  Happ’s Motion is GRANTED in PART and DENIED in PART.


                                                  19
Case: 2:06-cr-00129-ALM-NMK Doc #: 876 Filed: 11/25/08 Page: 20 of 34 PAGEID #: 17057




                          11. Defendant’s Demand for Discovery (no.777):

         In this general discovery motion, Happ requests that the Court grant discovery of seven

  broad categories of information pursuant to Federal Rule of Criminal Procedure 16(a), the

  Federal Rules of Civil Procedure, and assorted federal caselaw. Specifically, Happ requests

  discovery of the following: (1) Statements of the Defendant; (2) Defendant’s prior record; (3)

  Names and Addresses of Witnesses whom the Government Does Not Intend to Call at Trial; (4)

  Criminal Records of Government Witnesses; (5) Documents and Tangible Objects; (6) Reports

  of Examinations and Tests; and (7) Expert Witnesses. Happ concedes in his Motion that “some

  of the requested items have already been provided in discovery.” Several categories of requested

  information are subsumed in Happ’s other discovery motions, addressed supra Sections II.A.3-6.

  With regard to all materials sought, the Government has responded that it either has, or will,

  fully comply with its discovery obligations but objects to the extent that Happ’s requests seek

  information beyond the scope of Rule 16.

         Based on the Government’s response the Court finds Happ’s request is MOOT at this

  time. If, after reviewing the production provided by the Government and the rulings of the Court

  in this Order, there is specific material or categories of materials that Happ does not have but

  believes he has a right to obtain, he may request production of those specific items.

                        12. Defendant’s Omnibus Motion in Limine (no. 854):

         Happ moves to exclude from trial the following: (1) any reference to the convictions of

  his co-defendants who were tried in February 2008 and October 2008; (2) any reference to

  United States v. Lance K. Poulsen, No. 2:07-CR-209 (S.D. Ohio 2008) (“Poulsen’s obstruction

  case”), the facts underlying that case, or Lance Poulsen’s conviction in that matter; (3) any


                                                  20
Case: 2:06-cr-00129-ALM-NMK Doc #: 876 Filed: 11/25/08 Page: 21 of 34 PAGEID #: 17058




  reference to Rebecca S. Parrett’s disappearance or guilty verdict; (4) any reference to Bernard

  Woolfley’s qualifications or the qualifications of any other summary witness called by the

  Government. With regard to Happ’s first three requests, the Court finds Happ’s Motion is

  MOOT. In its response to Happ’s motion, the Government assures Happ and the Court that it

  does not intent to present (1) “the convictions of [Happ’s] co-defendants;” (2) evidence of

  Poulsen’s obstruction case and conviction; or (3) any reference to Rebecca Parrett’s

  disappearance and conviction. However, to the extent that Happ’s first request seeks to exclude

  any reference whatsoever to prior proceedings in this case his request is DENIED. As long as

  the Government’s questions do not violate any evidentiary rule, the Court will not altogether

  preclude references to the prior proceedings as those proceedings may become relevant at trial.

  Rather, the Court will rule on appropriate objections at trial, if and when the subject arises. As

  in Lance Poulsen’s October 2008 trial, however, the Court orders the parties and their witnesses

  to refer to the February 2008 and October 2008 trials of Happ’s co-defendants as “prior

  proceedings” and testimony from those trials as “prior sworn testimony” or “testimony from a

  prior proceeding.”

         In support of Hap’s fourth request for exclusion, Happ argues that reference to Mr.

  Woolfley’s (or any other Government summary witness’s) qualifications should be excluded

  under Federal Rule of Evidence 403 because the probative value of that evidence would be

  substantially outweighed by the danger that the jury would be mislead or confused regarding the

  capacity in which the summary witness was testifiying or would confer greater evidentiary

  credibility weight on the witness’s summary. The Government opposes. It argues that questions

  regarding a summary witness’s qualifications are relevant and there is no risk that the jury will


                                                   21
Case: 2:06-cr-00129-ALM-NMK Doc #: 876 Filed: 11/25/08 Page: 22 of 34 PAGEID #: 17059




  give undue weight to the summary witness’s testimony or believe the summary witness is an

  expert witness.

         Happ points out that the Federal Rules of Evidence do not require that a summary witness

  have any particular qualifications. He argues further that Mr. Woolfley’s (or any summary

  witness’s) background is irrelevant because it adds “nothing to the jury’s understanding of what

  actions he performed to summarize the data in this case.” The Court disagrees. The summary

  witness’s professional background and computational experience will be relevant to the jury’s

  ability to assess the reliability of the summaries prepared by that witness. As the Government

  points out, given the voluminous accounting and financial records that will underlie any

  summary testimony in this case, the witness’s background in finance and accounting will be

  important in the jury’s consideration of whether the witness understood the records he or she

  summarized.

         Furthermore, the Court does not believe that the risk of confusion or prejudice (if any)

  stemming from the Government’s presentation of its summary witness’s background will

  substantially outweigh the probity of that testimony. The Court is confident that the Jury will

  not be mislead into viewing the summary witness’s “number-crunching” testimony regarding the

  NCFE’s cash flow as expert opinion testimony. See United States v. Serafino, 281 F.3d 327, 331

  (1st Cir. 2002) (finding that “the jury common-sensically would not have regarded the [summary

  witness’s] ‘number-crunching’ the figures summarized in [the exhibit] as an expert opinion,”

  even though the court gave an expert witness instruction naming the summary witness and

  referred to that witness as an expert at trial). Also, the Court will instruct the jury on summary

  evidence, further reducing any possibility of confusion. Cf. United States v. Vasilakos, 508 F.3d


                                                   22
Case: 2:06-cr-00129-ALM-NMK Doc #: 876 Filed: 11/25/08 Page: 23 of 34 PAGEID #: 17060




  401, 412 (6th Cir. 2007) (finding trial court’s failure to give a summary evidence instruction in

  connection with a hybrid expert/summary witness’s testimony could cause juror confusion as the

  court had given an expert witness instruction regarding that witness). Finally, Happ will have an

  opportunity to cross-examine the summary witness and may use that opportunity to clarify the

  witness’s role for the jury if he believes that is necessary. Therefore, Happ’s motion to exclude

  any reference to the qualifications of the Government’s summary witness at trial is DENIED.

   13. Defendant’s Motion to Exclude the Term “Dog and Pony Show” From his Trial (no. 855):

         Happ moves to exclude the use of the phrase “dog and pony show” at trial to refer to the

  NCFE investor presentations. Happ claims that this evidence is irrelevant and that it has the

  substantial capacity to unfairly prejudice the jury under Federal Rule of Evidence 403, because

  the use of the phrase will “invite the jury to view the investor presentations as a sham, no matter

  what the actual evidence demonstrates.” The Government opposes, pointing out that the phrase

  was used internally at NCFE to describe investor presentations and in the securitizations industry

  in a non-derogatory manner.

         The Court finds Happ’s argument unconvincing. The transcripts of the February 2008

  trial of Happ’s co-defendants confirm that the term dog and pony show was used by employees

  at NCFE and in the securitizations industry to refer to investor presentations. As such, the Court

  finds that the phrase is explanatory and relevant. Furthermore, the Court does not believe the

  probative value is “substantially outweighed by the danger of unfair prejudice, confusion of the

  issues, or misleading the jury” based on the jurors’s possible negative associations with the

  phrase, as required for exclusion under Fed. R. Evid. 403. Finally, as was done in the February

  2008 trial, defense counsel will have the opportunity on cross-examination to explain that the


                                                  23
Case: 2:06-cr-00129-ALM-NMK Doc #: 876 Filed: 11/25/08 Page: 24 of 34 PAGEID #: 17061




  phrase did not carry a derogatory connotation within the industry. For these reasons, Happ’s

  Motion is DENIED.

            14. Defendant’s Motion to Exclude Testimony of William Parizek (no. 856):

         Happ asks the Court to exclude the testimony of William Parizek (“Parizek”). Happ

  contends that Parizek’s testimony would be (1) irrelevant under Fed. R. Evid. 402, (2) unfairly

  prejudicial to him under Fed. R. Evid. 403, and (3) cumulative. The Government argues that

  Parizek’s testimony is relevant, important to the overall NCFE story, and would not be unfairly

  prejudicial to Happ.

                                              Relevance

         First, Happ argues that Parizek’s testimony is irrelevant because (1) he left NCFE three

  years before Happ was hired; (2) Mr. Parizek is unsure whether he reviewed documents relating

  to the funding programs in existence during Happ’s tenure (NPF VI and XII); and (3) Happ and

  Parizek’s had “radically different” positions at NCFE. The Court finds that these arguments go

  to the weight of Parizek’s testimony, which can be attacked on cross-examination, not to its

  admissibility.

         Under Fed. R. Evid. 401, evidence is relevant if it has “any tendency to make the

  existence of any fact that is of consequence to the determination of the action more probable or

  less probable than it would be without the evidence.” Fed. R. Evid. 401. The Court finds that

  Parizek’s testimony meets this permissive standard, as he will be providing evidence of the

  overall conspiracy alleged to have occurred at NCFE. Although it is true that Happ and Parizek

  were employed at different times, Parizek’s testimony is relevant because it may provide

  evidence of the conspiracy that Happ allegedly joined at a later date. The fact that there was


                                                  24
Case: 2:06-cr-00129-ALM-NMK Doc #: 876 Filed: 11/25/08 Page: 25 of 34 PAGEID #: 17062




  fraud at NCFE before Happ joined the company makes it more likely that there was fraud after

  Happ joined.

         Moreover, the Sixth Circuit has found that “[w]hether the trials were joint or separate, the

  government could prove the entire scope of the conspiracy, though one defendant’s role in it was

  limited.” United States v. Mayes, 512 F.2d 637, 645 (6th Cir. 1975). Moreover, in a conspiracy

  involving multiple transactions, evidence of all the transactions is admissible, even though the

  defendant did not participate in each of them. See United States v. Kelley, 849 F.2d 999, 1004

  (6th Cir. 1988). Such evidence is admissible because its probative value “is clearly found within

  the government’s right to prove the entire scope of the conspiracy.” Id. Therefore, the Court will

  not exclude Parizek’s testimony merely because Happ is not alleged to have been a member of

  the conspiracy at the time Parizek was at NCFE.

         Furthermore, the Court agrees with the Government that Parizek’s testimony is relevant

  because of the similarities between the programs and business practices observed by Parizek and

  those in which Happ is accused of participating. Even if Parizek testifies that he only found

  fraud in the operation of the NPF I, II, or V funding programs, rather than the NPF VI and XII

  programs with which Happ was involved, this does not make Parizek’s testimony irrelevant.

  The fact that Parizek found fraud in the operation of any funding programs at NCFE makes it

  more likely that NPF VI and XII were fraudulently operated.

                                    Prejudice and Cumulativeness

         Happ next argues that Parizek’s testimony, even if relevant, should be excluded on Fed.

  R. Evid. 403 grounds because the jury will be confused into believing that Happ should have

  detected the fraud at NCFE just as Parizek did. Rule 403 provides that although relevant,


                                                  25
Case: 2:06-cr-00129-ALM-NMK Doc #: 876 Filed: 11/25/08 Page: 26 of 34 PAGEID #: 17063




  “evidence may be excluded if its probative value is substantially outweighed by the danger of

  unfair prejudice, confusion of the issues, or misleading the jury . . . .” Fed. R. Evid. 403. The

  Court is confident that the jury in this case will be able to distinguish between the roles of the

  various employees at NCFE and to weigh the evidence fairly.

         Although there may be some merit to Happ’s claim that he and Parizek were not similarly

  situated employees at NCFE, this only affects the weight of the evidence and Happ will have

  ample opportunity to explain such distinctions during cross-examination. Similarly, the Court

  does not believe that admitting Parizek’s testimony will result in Happ’s conviction based on

  guilt by association. Happ is not charged with acts occurring before he allegedly joined the

  conspiracy. Moreover the jury instructions will inform the jury that Happ can only be convicted

  of the charges against him and not for the wrong doing of others at NCFE. Finally, having

  already previewed Parizek’s testimony during the October 2008 trial of one of Happ’s co-

  defendants, the Court does not find that Parizek’s testimony is cumulative of other witness’s

  testimony. For these reasons, Happ’s motion to exclude Parizek’s testimony is DENIED.

   15. Defendant’s Motion to Exclude the Government’s Summary Exhibits and the Testimony of
                         Summary Witness, SA Jeffrey Williams (868):

         Happ filed an untimely motion in limine to exclude the Government’s summary exhibits

  and the testimony of summary witnes special agent Jeffrey Williams (“Williams”) on November

  19, 2008, three and one-half weeks after motions in limine were due. Happ claims that he was

  unable to file this motion earlier because he was unaware until November 17, 2008 that the

  Government would not be calling Bernard Woolfley (a consultant who coalesced the data

  underlying the summary exhibits and William’s testimony) at trial. As Woolfley was not called

  as a government witness during the October 2008 trial of Happ’s co-defendant even though

                                                   26
Case: 2:06-cr-00129-ALM-NMK Doc #: 876 Filed: 11/25/08 Page: 27 of 34 PAGEID #: 17064




  Williams was called, the Court is unconvinced that Happ could not have anticipated that

  Woolfley would not be called at his trial and file his motion in accordance with this Court’s

  deadlines. Nevertheless, to ensure the “expeditious and evenhanded management of trial

  proceedings” the Court GRANTS leave to file the tardy motion. Weimer v. Honda of Am. Mfg.,

  Inc., No. 2:06-cv-844, 2008 WL 4332525, at *1 (S.D. Ohio Sept. 17, 2008). The Court DENIES

  the motion on its merits.

         Happ argues that the Government’s summary exhibits and the testimony of Williams

  must be excluded on Confrontation Clause and Fed. R. Evid. 602 grounds because they

  constitute summaries of summaries created by Woolfley. Happ believes that Navigant’s

  summaries are testimonial hearsay, that Woolfley is their creator, and that the Government’s

  failure to call Woolfley violates his Confrontation Clause rights per Crawford v. Washington,

  541 U.S. 36 (2004). The Government counters that Williams expected summary testimony and

  the summary exhibits are not based on testimonial hearsay under Crawford and that Williams

  has the requisite personal knowledge under Rule 602 to support his testimony.

         As an initial matter, the Court finds that William’s summary exhibits and testimony are

  not based on Navigant summaries prepared by Woolfley, but, rather, on his independent review

  of NCFE records. Williams explained during his testimony in the October 2008 trial of Happ’s

  co-defendant, Lance Poulsen, that he independently reviewed and summarized roughly 147,000

  NCFE financial records. (Oct. 7, 2008 Trial Tr., Vol IV, 920, 926.) In relation to William’s

  summary, Navigant’s role was merely to collect and organize the electronic records to facilitate

  William’s review. (Id. at 929-30.) Williams made clear that his testimony and summaries were

  based on his own analysis of documents that he reviewed–not on Navigant’s interpretation of the


                                                  27
Case: 2:06-cr-00129-ALM-NMK Doc #: 876 Filed: 11/25/08 Page: 28 of 34 PAGEID #: 17065




  1.7 million NCFE records that Navigant amassed. (Id. at 921, 926, 930.) While Navigant did

  produce summary charts and spreadsheets of NCFE data, Williams reviewed the accuracy of

  those summaries by reviewing the underlying records himself. (Id. at 930.) Thus, Williams is

  competent to testify regarding how his summaries were created, as his summaries were based on

  documents he reviewed, not on Navigant’s or Woolfley’s assessment of the documents. In short,

  the data summarized by Williams was NCFE’s own business records recovered from NCFE’s

  funding system, not Navigant or Woolfley’s interpretation of that data. (Id. at 920.)

                                        Confrontation Clause

         In Crawford, the Supreme Court held that when testimonial hearsay evidence is used

  against a defendant, the defendant's Sixth Amendment rights under the Confrontation Clause are

  violated unless the witness was unavailable at trial and the defendant had a prior opportunity to

  cross-examine him. 541 U.S. at 68. The Court finds that the NCFE financial figures contained

  in the Government’s summary exhibits are “not akin to a witness statement taken in the course of

  an interrogation by a law enforcement officer, as in Crawford,” that “these figures are not

  ‘testimonial’ in the Crawford sense,” and that “their admission does not implicate the Sixth

  Amendment.” United States v. Stein, __ F.Supp.2d __, 2008 WL 4810065, at *2 (S.D.N.Y. Nov.

  3, 2008) (admission of summary charts and documents regarding a company’s tax loss figures

  did not implicate Confrontation Clause concerns).

         The Sixth Circuit Appeals Court made clear in United States v. Jamieson, that the trial

  court’s admission of summaries under Rule 1006 did not violate the defendant’s Confrontation

  Clause Rights. 427 F.3d 394, 411-12 (6th Cir. 2005). As in this case, the summaries in

  Jamieson consisted of business records seized from the defendant’s company. Id. The Court


                                                  28
Case: 2:06-cr-00129-ALM-NMK Doc #: 876 Filed: 11/25/08 Page: 29 of 34 PAGEID #: 17066




  explained that Crawford defined testimonial hearsay as “‘a solemn declaration or affirmation

  made for the purpose of establishing or proving some fact’,” and noted that “‘[a]n accuser who

  makes a formal statement to government officers bears testimony in a sense that a person who

  makes a casual remark’ does not.” Id. (quoting Crawford, 541 U.S. at 51-52.) Consequently, the

  Jamieson court concluded that the business records in the summaries did not “resemble the

  ‘formal statement’ or ‘solemn declaration’ identified as” testimonial in Crawford. Id. Similarly,

  the Government’s exhibits summarizing NCFE’s business records in this case, are not

  testimonial hearsay and their admission will not violate Happ’s Confrontation Clause rights.

  Happ’s counsel may cross-examine Williams at trial regarding the accuracy and import of the

  summaries.

                                              Rule 602

         Federal Rule of Evidence 602 prohibits a witness from testifying about a matter unless

  the witness has personal knowledge of that matter. Fed. R. Evid. 602. As discussed above,

  Williams has already testified that he prepared his summaries based on his own review of a set of

  NCFE’s financial records. Therefore, he has the requisite personal knowledge to testify about

  the summaries. United States v. Tucker, No. 89-5525, 1990 WL 139225, at *5 (6th Cir. 1990)

  (holding summary witness’s testimony was properly admitted because that witness had attended

  the trial and prepared his summary calculation based on the evidence he had heard). Williams

  will be available for cross-examination regarding his preparation of his summary and the

  Government has already made the financial documents underlying the summary available to the

  defense. Therefore, his testimony is admissible. United States v. Modena, 302 F.3d 626, 633

  (6th Cir. 2002) (Summary exhibits are admissible under Rule 1006 when: (1) the underlying


                                                 29
Case: 2:06-cr-00129-ALM-NMK Doc #: 876 Filed: 11/25/08 Page: 30 of 34 PAGEID #: 17067




  documents are voluminous; (2) the proponent of the summary made the underlying documents

  available for examination; (3) the underlying documents are admissible; (4) the summary is

  accurate and nonprejudicial; and (5) the summary is introduced through the testimony of a

  witness who supervised its preparation); United States v. Johnson, 54 F.3d 1150, 1159 (4th Cir.

  1995) (admission of summary evidence is proper where the individual who prepared the chart

  and the evidence on which the preparer relied are available for cross examination.) For these

  reasons, Happ’s Motion is DENIED.

   16. Defendant’s Motion to Exclude Any Opinion Testimony by Special Agent Jeffrey Williams
                                          (no. 872)

          Happ also filed a motion in limine to exclude any opinion testimony from the

  Government’s summary witness Jeffrey Williams. This motion was filed on November 22,

  2008, almost four weeks after October 27, 2008 due date for motions in limine. The Court could

  deny Happ’s motion on this ground. But, because the Court believes it benefits all parties to

  address evidentiary issues before trial, the Court has reviewed and considered the motion.

          Happ requests that the Court prohibit the Government’s summary witness, Special Agent

  Jeffrey Williams, from giving any opinion testimony at trial. The Court finds that the Happ’s

  motion is MOOT because the Government represents in its response brief that it does not intend

  to elicit any opinion testimony from Williams at trial.

                          17. Defendant’s Motion for Change of Venue (869):

          Hap moves for a change of venue, arguing that the Columbus, Ohio jury pool has been so

  saturated with negative media coverage regarding the NCFE case that he will be unable to

  receive a fair trial before an impartial jury.




                                                   30
Case: 2:06-cr-00129-ALM-NMK Doc #: 876 Filed: 11/25/08 Page: 31 of 34 PAGEID #: 17068




         Under Federal Rule of Criminal Procedure 21(a) a court is only required to grant a

  defendant's motion for transfer if “the court is satisfied that so great a prejudice against the

  defendant exists in the transferring district that the defendant cannot obtain a fair and impartial

  trial there.” Prejudice requiring a change of venue can be presumptive or actual. Foley v.

  Parker, 488 F.3d 377, 387 (6th Cir. 2007). Actual prejudice is demonstrated “when review of

  both the jury voir dire testimony and the extent and nature of the media coverage indicates a fair

  trial [is] impossible.” Ritchie v. Rogers, 313 F.3d 948, 952 (6th Cir. 2002) (quoting Murphy v.

  Florida, 421 U.S. 794, 798 (1975)) (internal quotation marks omitted). “Presumptive prejudice

  from pretrial publicity occurs where an inflammatory, circus-like atmosphere pervades both the

  court-house and the surrounding community.” Foley, 488 F.3d at 387 (emphasis added). The

  right to an impartial jury does not require that jurors lack any knowledge of the case or even

  preexisting opinions to the merits of the case as long as “the juror can lay aside his impression or

  opinion and render a verdict based on the evidence presented in court.” Irvin v. Dowd, 366 U.S.

  717, 722-23 (1961); see also DeLisle v. Rivers, 161 F.3d 370, 382 (6th Cir. 1998) (en banc).

         In support of his Motion, Happ adopts the arguments made by his co-defendant, Lance K.

  Poulsen (“Poulsen”), in Poulsen’s Motion to Transfer for Unfairly Prejudicial Pretrial Publicity.

  This Court denied Poulsen’s motion to change venue finding that the coverage of the case has

  been primarily fact-based and not sensationalized and that Poulsen could not establish

  presumptive or actual prejudice (no. 810, 6-8). The only additional support Happ provides for

  his Motion is that (1) there has now also been media coverage of Poulsen’s October 2008 trial

  which might reflect negatively on Happ and (2) there is a web blog which has said a number of




                                                    31
Case: 2:06-cr-00129-ALM-NMK Doc #: 876 Filed: 11/25/08 Page: 32 of 34 PAGEID #: 17069




  unflattering things about Happ, including stating that Happ might be “the most important

  criminal of all.” The Court does not find these facts sufficient to warrant a change of venue.

         First, as with the coverage that preceded Poulsen’s trial, the coverage of the Poulsen’s

  October 2008 trial was primarily fact-based and not inflammatory. Second, the presence of a

  web blog containing negative articles regarding Happ does not require a change of venue to

  another district. The coverage on that blog has not created an inflammatory, circus-like

  atmosphere in the court-house and the Columbus jury pool. Foley, 488 F.3d at 387.

  Furthermore, web based coverage is not localized and has an equal potential to taint a jury pool

  in any district. However, the Court is not deaf to Happ’s concerns regarding the substantial

  amount pretrial publicity generated by this case.

         As with the October 2008 trial, the Court has already taken measures to identify jurors

  with potential prejudice based on media exposure and to minimize such exposure. Specifically,

  the prospective jury members have been sent (1) a letter instructing them to avoid media

  coverage of this case and (2) a detailed juror questionnaire that includes questions addressing the

  existence and extent of prospective jurors’ media exposure and any opinions prospective jurors

  may have formed about the case. The results of the questionnaire will allow the parties to

  identify specific jurors with significant media exposure. During voir dire the Court will conduct

  a generalized en mass voir dire regarding whether a juror is aware of pretrial publicity. Follow-

  up questions regarding what an individual juror heard about the case through the media will be

  conducted at sidebar. The Court believes that the voir dire procedures it will employ at trial will

  be more than sufficient to prevent actual prejudice. Happ has shown neither presumptive nor




                                                  32
Case: 2:06-cr-00129-ALM-NMK Doc #: 876 Filed: 11/25/08 Page: 33 of 34 PAGEID #: 17070




  actual prejudice arising from the media coverage related to this case. For these reasons, Happ’s

  Motion for Change of Venue is DENIED.

                                        III. CONCLUSION

         For the foregoing reasons, the Court finds that (1) Defendant’s Motion for a Bill of

  Particulars (no. 700) is DENIED IN PART and MOOT IN PART; (2) Motion for Specific

  Brady Material Relating to the SEC’s Declination to Pursue an Action Against Defendant Happ

  (no. 775) is MOOT; (3) Motion for Production of Brady and Giglio Material (no. 776) is

  MOOT; (4) Motion for Pre-trial Production of Jencks Act Material (no. 778) is GRANTED;

  (5) Motion to Disclose & Determine Admissibility of Co-Conspirator's Statements (no. 780) is

  DENIED in PART and GRANTED in PART; (6) Motion to Preserve Agent's Notes (no. 779)

  is GRANTED; (7) Motion to Examine Charts, Exhibits and Pedagogical Devices (no. 781) is

  MOOT; (8) Motion for Notice of Intent to Rely on Other Crimes Evidence and Motion in

  Limine (no. 783) is MOOT; (9) Motion to Produce Grand Jury Materials (no. 784) is DENIED;

  (10) Motion for an In Camera Examination of the Presentence Report of Sherry Gibson and Jon

  Beacham (no. 782) is GRANTED in PART and DENIED in PART; (11) Defendant's Demand

  for Discovery (no.777) is MOOT; (12) Omnibus Motion in Limine (no. 854) is MOOT in

  PART and DENIED in PART; (13) Motion to Exclude the Term "Dog and Pony Show" From

  his Trial (no. 855) is DENIED; (14) Motion to Exclude Testimony of William Parizek (no. 856)

  is DENIED; (15) Motion to Exclude the Government’s Summary Exhibits and the Testimony of

  Summary Witness, SA Jeffrey Williams (no. 868) is DENIED; (16) Motion to Exclude Any

  Opinion Testimony by Special Agent Jeffrey Williams (no. 872) is MOOT; and (17) Motion for

  Change of Venue (no. 869) is DENIED.


                                                 33
Case: 2:06-cr-00129-ALM-NMK Doc #: 876 Filed: 11/25/08 Page: 34 of 34 PAGEID #: 17071




        IT IS SO ORDERED.



                                              s/Algenon L. Marbley
                                              ALGENON L. MARBLEY
                                              United States District Court Judge
  DATE: November 25, 2008




                                         34
